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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL


 Case No.         SACV 13-0978-DOC(ANx)                                                    Date     January 15, 2014
 Title     AHMAD EKHLAS -V- NCO FINANCIAL SYSTEMS INC.

 Present: The Honorable          DAVID O. CARTER, U.S. District Judge
                Julie Barrera                                    C/S 1-13-14                                 N/A
                Deputy Clerk                               Court Reporter / Recorder                      Tape No.

                Attorneys Present for Plaintiffs:                             Attorneys Present for Defendants:
                        No Appearance                                                Albert R. Limberg


 Proceedings:         (IN CHAMBERS) ORDER DISMISSING CASE WITH PREJUDICE



       The Court granting plaintiff’s request for enlarging time to file an Amended Complaint to
January 13, 2014, and Amended Complaint having not been filed, the Court hereby ORDERS case
dismissed with prejudice.




                                                                                                            :       00

                                                                    Initials of Preparer      jcb




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